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   6
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   7
   8
                                  UNITED STATES BANKRUPTCY COURT
   9                              SOUTHERN DISTRICT OF CALIFORNIA

 10
        In re:                                                Case No.: 18-06044-LT11
 11
 12     JESSE WAYNE DAWBER, an individual,                    Chapter 11

 13                        Debtor.                            [Substantively Consolidated]
        _____________________________________
 14
        CLASS WAR, INC., a California                         CHAPTER 11 TRUSTEE’S STATUS
 15
        corporation,                                          REPORT REGARDING STATUS OF
 16                                                           SETTLEMENT WITH SOLOMON
                  Member Case No. 19-00293-LT11               WARD SEIDENWURM & SMITH, LLP
 17
                                                              Fee Application Hearing:
 18                                                           Date: April 1, 2020
 19                                                           Time: 10:00 a.m.
                                                              Place: Dept. 3/ Room 129
 20                                                                  325 West F Street
                                                                     San Diego, CA 92101
 21
 22
 23              David K. Gottlieb, in his capacity as the chapter 11 trustee (the “Trustee”) in the above-
 24 captioned, substantively consolidated, bankruptcy estate of Jesse Wayne Dawber (“Dawber”),
 25 hereby files this report regarding the status of a settlement with Solomon Ward Seidenwurm &
 26 Smith, LLP (“SWSS”).
 27
 28



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   1          1.      At a hearing held on December 5, 2019, the Bankruptcy Court ordered SWSS

   2 (and the other two estate professionals consisting of Hogan Lovells and Arent Fox) to file any
   3 application for the payment of fees and reimbursement of expenses in connection with its prior
   4 representation of Class War, Inc. and/or Dawber, by February 29, 2020, and notice such
   5 application for an initial hearing on April 1, 2020, which initial hearing would be treated as a
   6 status conference.
   7          2.      The Bankruptcy Court also ordered the Trustee and SWSS to meet and confer

   8 regarding the fees and expenses incurred by SWSS (the “SWSS Fees and Expenses”), and to file
   9 a report on the status of settlement, if any, by February 14, 2020.
 10           3.      Subsequent to the December 5, 2019 hearing, the Trustee and SWSS met and

 11 conferred regarding a possible resolution of the SWSS Fees and Expenses but were unable to
 12 agree on the terms of a settlement or the parameters of a mediation. Accordingly, the Trustee
 13 and SWSS have not participated in any mediation and do not have any current plans to
 14 participate in any mediation.1
 15           4.      On February 6, 2020, SWSS filed its First And Final Application For Allowance

 16 Of Fees And Reimbursement Of Expenses [Docket No. 560] (the “SWSS Fee Application”), and
 17 unilaterally scheduled a hearing on the SWSS Fee Application for March 5, 2020, instead of
 18 April 1, 2020 as the Trustee had expected would be the case.
 19           5.      The Trustee requested that SWSS agree to continue the hearing on the SWSS Fee

 20 Application to April 1, 2020 (and related briefing deadlines) because the Trustee and his counsel
 21 are presently involved in preparing for the two mediations with Hogan Lovells and Arent Fox
 22 referenced in footnote 1 below, and (a) it would be burdensome for the Trustee to address the
 23 SWSS Fee Application at the same time as the two mediations; (b) it would detract from the
 24 Trustee’s substantial required briefing and preparation for those two mediations; and (c) it
 25 would potentially require the Trustee to disclose confidential information in any opposition or
 26
       1
 27   The Trustee and Hogan Lovells will be participating in a mediation on February 19, 2020, and the
    Trustee and Arent Fox will be participating in a mediation on March 4, 2020 – both before Judge Jury,
 28 and the parties have all previously entered into stipulations that were approved by the Court that adjusted
    their various briefing schedules on final fee applications if no settlements are reached at the mediations.



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   1 response to the SWSS Fee Application, while the two mediations are still pending. The Trustee
   2 explained this to SWSS and requested that SWSS agree to continue the hearing on the SWSS
   3 Fee Application to April 1, 2020. Jack Schindler (“Schindler”), through his counsel Don
   4 Vaughn, made a similar request to SWSS.
   5         6.     SWSS consented to the Trustee’s request but only with respect to the Trustee and

   6 the United States Trustee. On February 11, 2020, the Trustee and SWSS filed a stipulation
   7 [Docket No. 563] with the Court (the “Stipulation”) in which they requested the Court to
   8 continue the hearing on the SWSS Fee Application and related briefing deadlines with respect
   9 only to the Trustee and the United States Trustee. SWSS was not willing to include Schindler in
 10 the Stipulation, except on other terms that were not acceptable to Schindler. An order approving
 11 the Stipulation (which does not include Schindler) is pending.
 12          7.     The Stipulation provides that “SWSS desires to have the March 5, 2020

 13 hearing date remain on calendar as a status conference only as to any objections filed to
 14 the [SWSS] Fee Application other than by the Trustee or the United States Trustee,
 15 neither of whom are required to file any response to the [SWSS] Fee Application in
 16 connection with any March 5, 2020 hearing. The Trustee takes no position in this
 17 regard, but this request of SWSS is without prejudice to the rights of any other party.”
 18          8.     Thus, if the Stipulation is approved by the Court, then on March 5, 2020, at 9:30

 19 a.m., the Court will hold a status conference with respect the SWSS Fee Application and any
 20 responses or oppositions to the SWSS Fee Application filed by Schindler or any other party in
 21 interest other than the Trustee or the United States Trustee; and the Court will thereafter conduct
 22 a substantive hearing on the SWSS Fee Application on April 1, 2020, at 10:00 a.m., or at such
 23 other time as determined by the Court following the March 5, 2020 status conference.
 24          9.     Pursuant to the Stipulation, the Trustee and SWSS agreed that the deadline for

 25 the Trustee and the United States Trustee to file a response to the Fee Application will be
 26 extended to March 18, 2020 (the “Extended Response Deadline”), and any reply that SWSS
 27 desires to file will be extended to March 25, 2020.
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   1         10.    In the Stipulation, the Trustee agreed not to request any further discovery from

   2 SWSS provided the hearing on the SWSS Fee Application held on April 1, 2020, at 10:00 a.m.
   3 is a substantive hearing on the SWSS Fee Application. The Stipulation further provides that
   4 while the Trustee does not currently anticipate requesting any further discovery from SWSS, if
   5 the Court decides that the hearing on the SWSS Fee Application held on April 1, 2020, at 10:00
   6 a.m. is not a substantive hearing on the SWSS Fee Application, the Trustee reserves the right to
   7 request additional discovery from SWSS.
   8 Dated: February 14, 2020                    LEVENE, NEALE, BENDER, YOO & BRILL
                                                 L.L.P.
   9
                                                 By:     /s/ Krikor J. Meshefejian
 10                                                      RON BENDER
 11                                                      BETH ANN R. YOUNG
                                                         KRIKOR J. MESHEFEJIAN
 12                                               Attorneys for David K. Gottlieb, Chapter 11
                                                  Trustee
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10250 Constellation Blvd., Suite 1700, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled: CHAPTER 11 TRUSTEE’S STATUS REPORT
 REGARDING STATUS OF SETTLEMENT WITH SOLOMON WARD SEIDENWURM & SMITH, LLP will be served or
 was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
 stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
February 14, 2020 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

       Christine E. Baur christine@baurbklaw.com, admin@baurbklaw.com
       Ron Bender rb@lnbyb.com, bry@lnbyb.com
       Anthony Bisconti tbisconti@bienertkatzman.com,
        admin@bienertkatzman.com;4579179420@filings.docketbird.com
       Michael D. Breslauer mbreslauer@swsslaw.com, wyones@swsslaw.com
       John W. Cutchin jcutchin@san.rr.com
       Jesse S. Finlayson jfinlayson@ftrlfirm.com, bmendoza@ftrlfirm.com
       Douglas Flahaut flahaut.douglas@arentfox.com
       Lauren Nicole Gans lgans@shensonlawgroup.com, jshenson@shensonlawgroup.com
       Todd S. Garan ch11ecf@aldridgepite.com, tgaran@aldridgepite.com;TSG@ecf.courtdrive.com
       David Gottlieb dkgtrustee@dkgallc.com, rjohnson@dkgallc.com;dgottlieb1@iq7technology.com
       Christopher V. Hawkins hawkins@sullivanhill.com,
        hill@sullivanhill.com;millerick@sullivanhill.com;bkstaff@sullivanhill.com;vidovich@ecf.inforuptcy.com;h
        awkins@ecf.inforuptcy.com
       Krikor John Meshefejian kjm@lnbyb.com
       Aram Ordubegian ordubegian.aram@arentfox.com
       David Ortiz david.a.ortiz@usdoj.gov,
        USTP.REGION15@USDOJ.GOV;tiffany.l.carroll@usdoj.gov;Elizabeth.C.Amorosi@usdoj.gov
       Michael L. Turrill michael.turrill@hoganlovells.com,
        elizabeth.goncharov@hoganlovells.com;tiffany.dejonge@hoganlovells.com;jamie.wood@hoganlovells.co
        m;LADocketing@hoganlovells.com
       United States Trustee ustp.region15@usdoj.gov
       Donald A. Vaughn dav@vv-law.com, etopol@vv-law.com
       Christopher K.S. Wong christopher.wong@arentfox.com
       Beth Ann R. Young bry@lnbyb.com

2. SERVED BY UNITED STATES MAIL: On February 14, 2020, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                       .    Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on February 14, 2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 February 14, 2020                      Lourdes Cruz                           /s/ Lourdes Cruz
 Date                                Printed Name                              Signature
